                 Case 1:17-cr-00043-JAJ-CFB Document 73 Filed 02/21/19 Page 1 of 1


                            United States District Court for the Southern District of Iowa

Presiding: Honorable John A. Jarvey
Criminal No. 1:17-CR-00043                                : Clerk’s Court Minutes – Sentencing
_______________________________________________________________________________________________________________________________________

UNITED STATES OF AMERICA VS. ANDREW SIMET
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Richard Rothrock                            : ✔ Indictment    Superseding Indictment                    Information
Def. Atty(s): Michael Smart                               : In 1 Count(s) – Code Violation:
Court Reporter: Kelli Mulcahy                             : 18 USC 875(c)
Interpreter: N/A                                          :
___________________________________________________________

Date: 02/19/2019                                          :
Time Start: 1:02 pm       Time End: 1:09 pm               :
_______________________________________________________________________________________________________________________________________

✔ Defendant reaffirmed guilty plea to Count(s) 1                                   : ✔ Court adopted findings of Final PSR
    Jury           Court guilty verdict to Count(s)                                :   Final PSR as amended
_______________________________________________________________________________________________________________________________________

Minutes:
Defendant is present with counsel for sentencing. 1:02 pm. Total Offense Level = 12; Criminal History
Category = 4; Guideline Imprisonment Range = 21-27 months. Defense argues, 1:03-1:04 pm. Defendant
allocutes, 1:04-1:05 pm. Government argues, 1:05 pm. Court pronounces sentence, 1:06-1:09 pm. Defendant is
advised of appeal rights.




_______________________________________________________________________________________________________________________________________

Sentence Imposed:
Defendant is sentenced to the custody of the BOP for a term of 19 months on count 1 of the indictment. Upon
release, Defendant shall serve a term of supervised release of 36 months. $100 Special Assessment to the Crime
Victims' Fund Assessment is remitted upon motion of the United States. Defendant is remanded into the
custody of the United States Marshal.




                                                                                          Elizabeth A. Etchells
                                                                                          ________________________
                                                                                          Deputy Clerk
